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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s notice

of appeal (Filing No. 174).         The Court has reviewed its

memorandum opinion (Filing No. 169) and order and judgment

(Filing No. 170), and will not issue a certificate of

appealability.    Accordingly,

           IT IS ORDERED that no certificate of appealability will

issue.

           DATED this 9th day of June, 2010.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
